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                           U.S. OFFICE Of' SPECIAL COUNSEL
                                  1730 l'+1 Street. N,W.,Suite 300
                                  Washington, D.C. 20036-4505
                                          (202) 804-7000




                                    September 30, 2020


Dr. Fred Nance, Jr.
17239 Evans Avenue
South Holland, IL 60473
Via email to: frednance@clickservices.org

      OSC File No. MA-20-002834

Dear Dr. Nance:

      This letter responds to your complaint to the Office of Special Counsel concerning
your allegation of loss of employment in retaliation for your report of misappropriation of
funds, and fraud by EMAGES, Inc.

      The Office of Special Counsel is authorized to investigate allegations of prohibited
personnel practices and certain activities prohibited by civil service law, rule, or
regulation. 5 U.S.C. §§ 1214(a)(l)(A), 1216(a) and 2302(b). The provisions of
5 U.S.C. § 2302 and 5 U.S.C. § 2105 establish that our authority extends only to current
or former employees or applicants for employment to competitive or excepted service
positions in Executive Branch departments and agencies of the federal government.

      The information provided reflects that you are not a federal employee, or an        I
applicant for federal employment. Thus, we lack jurisdiction over this matter, as you are
not a covered employee in, or applicant for, a covered position in the Executive Branch
departments and agencies of the federal government within the meaning of 5 U.S.C
§ 2302 and 5 U.S.C. § 2105.

       Accordingly, because this office does not have jurisdiction to investigate the
matter you describe, we are closing this file. For further information, you may view our
website at \\'WW.osc.gov.

                                                      Sincerely,




                                                      Colette Key Slaton
                                                      Case Review Specialist
                                                      Case Review Division
